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UNITED sTATEs DIsTRICT COURT \_ONQ \S\=ANQ QF
EASTERN DISTRICT OF NEW YORK .
____________ X
UNITEDSTATESOFAl\/LERICA INDICTMENT
i'. n .\ ' .’ -‘; y .'. `;l
- against - . \-,’\‘i 5 ' _._ ""
(T. 18, U.S.C., §§ 982(a)(1), 982(a)(2),
ZOOBIA sHAHNAZ, 1344, 1956(3)(2)(A), 1956(a)(2)(B)(i),
>_ 1956(a)(2)(B)(ii), 1956(h), 2 and 3551 e_t
Defendant. M.; T. 21, U.S.C., § 853(p))
____________ X
SEYBERI; J.
THE GRAND IURY cHARGES:
coUNT oNE ToMLn\rSON, M.J.
(Bank Fraud)

1. In or about and between March 2017 and August 2017, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant ZOOBIA SHAHNAZ, together with others, did knowingly and intentionally
execute and attempt to execute a scheme and artifice to den'aud one or more financial
institutions, to Wit: American Express Bank, Chase Bank, Discover Bank and TD Bank
(collectively, “the financial institutions”), the deposits of which were insured by the Federal
Deposit Insurance Corporation, and to obtain money and iiinds under the custody and control
of such financial institutions by means of materially false and naudulent pretenses,

representations, and promises.

(Title 18, United States Code, Sections 1344, 2 and 3551 e_t seLq.)

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COUNT TWO
(Conspiracy to Commit Money Laundering)

2. In or about and between March 2017 and August 2017, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the
defendant ZGOBLA SHAHNAZ, together With others, did knowingly and intentionally
conspire to transport, transmit and transfer ii.mds from a place in the United States to and
through one or more places outside the United States, to Wit: Pakistan, China and Turkey,
with the intent to promote the carrying‘:on of a specified unlawful activity, to wit: providing
material support to a foreign terrorist organization, in violation of Title 18, United States
Code, Section 2339B, and knowing that the funds involved in the transportation,
transmission, and transferwould represent the proceeds of some form of unlawful activity
and knowing that such transportation, transmission, and transfer Would be designed in whole
and in part to conceal and disguise the nature, location, source, ownership, and control of the
proceeds of specified unlawful activity; iand!tp‘-"avoid a transaction reporting requirement
under State and Federal law, contrary to Title 18, United States Code, Sections
1956(a)(2)(A), 1956(a)(2)(B)(i) and 1956(a)(2)(B)(ii).

(Title 18, United States Code, Sections 1956(h) and 3551 et M.)

COUNT THREE
(Money Laundering to Support a Foreign Terrorist Organization)

3. In or about and between March 2017 and August 2017, both dates
being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant ZOOBIA SHAHNAZ, together with others, did knowingly and intentionally

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transport, transmit and transfer and attempt to transport, transmit and transfer ii.mds, to wit:
United States currency, from a place in the United States to and through one or more places
outside the United States, to wit: Pakistan, China and Turkey, With the intent to promote the
carrying on of a specified unlawful activity, to wit: providing material support to a foreign
terrorist organization, in violation of Title 18, United States Code, Section 2339B.

(Title 18, United States Code, Sections 1956(a)(2)(A), 2 and 3551 e_t M.)

4 COUNT'FOUR
(Money Laundering to Conceal Proceeds of Unlawful Activity)

4. In or about and between March 2017 and August 2017, both dates
being approximate and inclusive, within the Eastem District of New York and elsewhere, the
defendant ZOOBIA SHAHNAZ, together with others, did knowingly and intentionally
transport, transmit and transfer and attempt to transport, transmit and transfer funds, to wit:
United States currency, from a place in the United States to and through one or more places
outside the United States, to wit: Pakistan, China and Turkey, knowing that the funds
involved in the transportation represented the proceeds of some form of unlawful activity and
knowing that such transportation was designed in whole and in part to conceal and disguise
the nature, location, source, ownership and control of the proceeds of specified unlawful
activity, to wit: bank fraud, in violation of Title 18, United States Code, Section 1344.

(Title 18, United States Code, Sections 1956(a)(2)(B)(i), 2 and 3551 _e_t seg.)

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COUNT FIVE 7
(Money Laundering to Avoid Transaction Reporting Requirements)

5. ln or about and between March 2017 and August 2017, both dates
being approximate and inclusive, within the Eastern District of NeW York and elsewhere, the
defendant ZOOBIA SHAHNAZ, together with others, did knowingly and intentionally
transport, transmit and transfer and attempt to transport, transmit and transfer fimds, to wit:
United States currency, from a place in the United States to and through one or more places
outside the United States, to witt Pakistan, China and Turkey, knowing that the funds
involved in the transportation represented the proceeds of some form of unlawful activity and
knowing that such transportation was designed in whole and in part to avoid a transaction
reporting requirements under State and Federal law.

(Title 18, United States Code, Sections 1956(a)(2)(B)(ii), 2 and 3551 e_t M.)

CRIMINAL FORFEITURE ALLEGATIONS FOR
Q)_UM

6. The United States hereby gives notice to the defendant that, upon her
conviction of the offense charged in Count One, the government will seek forfeiture in
accordance with Title 18, United States Code, Section 982(a)(2), Which requires the
forfeiture of any property, real or personal, involved in such offense, or any property
traceable to such property.

7. If any of the above-described property, as a result of any act or

omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

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(b) has been transferred, or sold to or deposited with a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property Which cannot be
divided without difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the forfeitable
property described in this forfeiture allegation v

(Title 18, United States Code, Section 982(a)(2); Title 21, United States Code,

Section 853(p))

CRIMINAL FORFEITURE ALLEGATIONS FOR
COUNTS TWO THROUGH FIVE

8. The United States hereby gives notice to the defendant that, upon her
conviction of any of the offenses charged in Counts Two through Five, the government will
seek forfeiture in accordance with Title 18, United States Code, Section 982(a)(1), which
requires the forfeiture of any property, real or personal, involved in such offenses, or any
property traceable to such property.

9. If any of the above-described property, as a result of any act or
omission of the defendant

(a) cannot be located upon the exercise of due diligence;
(b) has been transferred, or sold to or deposited with a third party;

(c) has been placed beyond the jurisdiction of the court;

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(d) . has been substantially diminished in value; or

(e) has been commingled With other property which cannot be

divided wanda difficulty

it is the intent of the United States, pursuant tjo Title 21, United States Code, Section 853(p),
to seek forfeiture of any other property of the defendant up to the value of the forfeitable
property described in this forfeiture allegation

'(Title 18, United States Code, Section 982(a)(1); Title 21, United States Code,

Section 853(p))

A TRUE BILL

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l/ FOREPERsoN

BRID'GET M.§k¢orfos
ACTING UNITED sTAri-:s ArroRNEY

EASTERN DISTRICT OF NEW YORK

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JuN. ss

 

UNITED STATES DISTRICT COURT
EASTERN District of NEW YORK

CRIM[NAL DIVISION

 

THE UNITED sTATEs or AMERICA

VS.

ZOOBIA SHAHNAZ,

Defendant.

 

INDICTMENT

(T. 18, U.s.C., §§ 1344, 1956(a)(2)(A),1956(a)(2)(B)(i),_
1956(a)(2)(B)(ii), 1956(11), 2 and 3551 e_t s_eq.; T. 21, U.s.c., § 853(p))

 

 

Artie McConnell, Assistant U.S. Attomey (631) 715-7825

